           Case 2:12-cr-00237-JCC          Document 178       Filed 09/06/12      Page 1 of 2




 1

 2

 3

 4

 5

 6                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 7                                      AT SEATTLE

 8 UNITED STATES OF AMERICA

 9                                Plaintiff,             Case No. CR12-237-JCC

10          v.                                           DETENTION ORDER

11 COREY A. BROWN,

12                                Defendant.

13 Offense charged:

14          Conspiracy to Distribute Oxycodone.

15 Date of Detention Hearing: September 6, 2012.

16          The Court, having conducted a detention hearing pursuant to Title 18 U.S.C. § 3142(f),

17 and based upon the factual findings and statement of reasons for detention hereafter set forth,

18 finds that no condition or combination of conditions which the defendant can meet will

19 reasonably assure the appearance of the defendant as required and the safety of any other person

20 and the community.

21               FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

22          Defendant is charged with an offense which carries a presumption of detention and has

23 not overcome the presumption. Defendant has a significant criminal history including two prior



     DETENTION ORDER - 1
           Case 2:12-cr-00237-JCC          Document 178        Filed 09/06/12       Page 2 of 2




 1 drug trafficking convictions for which he was sentenced to prison. He received a five year prison

 2 sentence in his most recent conviction, a conviction entered in this court. The alleged offense

 3 was also committed while he was on active supervision with the U.S. Probation Office indicating

 4 that he presents a danger to the community that cannot be adequately addressed through release

 5 conditions.

 6          It is therefore ORDERED:

 7          (1)    Defendant shall be detained pending trial and committed to the custody of the

 8 Attorney General for confinement in a correctional facility separate, to the extent practicable,

 9 from persons awaiting or serving sentences, or being held in custody pending appeal;

10          (2)    Defendant shall be afforded reasonable opportunity for private consultation with

11 counsel;

12          (3)    On order of a court of the United States or on request of an attorney for the

13 Government, the person in charge of the correctional facility in which Defendant is confined

14 shall deliver the defendant to a United States Marshal for the purpose of an appearance in

15 connection with a court proceeding; and

16          (4)    The Clerk shall direct copies of this order to counsel for the United States, to

17 counsel for the defendant, to the United States Marshal, and to the United States Pretrial Services

18 Officer.

19       DATED this 6th day of September, 2012.

20

21                                                        A
                                                          BRIAN A. TSUCHIDA
22                                                        United States Magistrate Judge

23



     DETENTION ORDER - 2
